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 1   Lisa Liberi
 2
     1704b Llano St., No. 159
     Santa Fe, NM 87505
 3   Ph: (505) 577-0829
 4   Email: lisaliberi@gmail.com
 5   Plaintiff in Pro Se
 6
                          UNITED STATES DISTRICT COURT
 7
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA,
 8                              SOUTHERN DIVISION
                    _____________________________________________
 9
10   LISA LIBERI,                       : CIVIL ACTION NUMBER:
                                        :
11                          Plaintiff,  : 8:11-cv-00485-AG
           vs.                          :
12                                      : PLAINTIFF, LISA LIBERI’S
                                        :
13    ORLY TAITZ;                       : MOTION FOR RECONSIDERATION
                                        : AND RELIEF FROM FINAL
14     and                              : JUDGMENT
      LAW OFFICES OF ORLY TAITZ;        :
15                                      :
      and                               :
16    DEFEND OUR FREEDOMS               :
                                        :
17    FOUNDATIONS, INC;                 :
                                        :
18    and                               :
      ORLY TAITZ, INC.                  : Date of Hearing:
19                                      : Time of Hearing: 10 a.m.
                            Defendants. :
20                                      : Location:        Courtroom 10D
     ________________________________ __________________________________
21
22
         PLAINTIFF, LISA LIBERI’S MOTION FOR RECONSIDERATION
23
                   AND RELIEF FROM FINAL JUDGMENT
24
25
26
27
28
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  1                    MEMORANDUM OF POINTS AND AUTHORITIES
  2
                I.    INTRODUCTION
  3
                On October 5, 2018 the Court denied Plaintiff Lisa Liberi’s [“Liberi” or
  4
  5   “Plaintiff”] Leave Request seeking to file a Complaint for Breach of Contract;
  6
      Rescission of the Settlement Agreement; Reimbursement for Liberi’s Consideration;
  7
  8
      Declaratory Relief; and new cause of actions resulting from the breaches for

  9   Defamation Per Se/Libel Per Se; Appropriation of Name and Likeness; False Light
 10
      Publication – Invasion of Privacy; and Intentional and Negligent Infliction of
 11
 12   Emotional Distress against Defendants Orly Taitz (“Defendant” or “Ms. Taitz”); Law

 13   Offices of Orly Taitz (“Defendant” or “LOOT”); Defend our Freedoms Foundations,
 14
      Inc. (“Defendant” or “DOFF”); and Orly Taitz, Inc. (“Defendant” or “OTI”). A true
 15
 16   and correct copy of the Court’s Order and Judgment, Dkt No.’s 841 and 842 are

 17   attached as EXHIBIT “1”.
 18
                The Court’s basis for denying Plaintiff’s request was that Liberi dismissed her
 19
 20   complaint with prejudice and her proposed complaint for the breaches “resurrected”

 21   the dismissed claims. See Exhibit “1”, pp. 10-11, ¶5. The Court incorrectly
 22
      concluded that the Defendants breaches classified by Plaintiff were in large part from
 23
 24   Defendants filing of an 84-page counter-Complaint which the Court struck after its

 25   filing.
 26
                Because of the Court’s erroneous review, identification, and application of
 27
 28   these factors and the Court’s failure to consider material facts presented to the Court
                                                    1
                              Plaintiff’s Memorandum of Points and Authorities
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  1   by Plaintiff prior to its Decision, amounted to clear error and because the decision was
  2
      “manifestly unjust” and Plaintiff has no other way for redress or enforcement of her
  3
      Settlement Agreement Plaintiff respectfully moves for reconsideration and relief from
  4
  5   the Court’s denial and final order.
  6
               II.      LEGAL STANDARD
  7
  8
               Amendment or alteration of a judgment is only appropriate under Rule 59(e) if

  9   "(1) the district court is presented with newly discovered evidence, (2) the district
 10
      court committed clear error or made an initial decision that was manifestly unjust, or
 11
 12   (3) there is an intervening change in controlling law." Zimmerman v. City of Oakland,

 13   255 F.3d 734, 740 (9th Cir. 2001). The rule "offers an extraordinary remedy, to be
 14
      used sparingly in the interests of finality and conservation of judicial resources." Kona
 15
 16   Enterprises, Inc. v. Estate of Bishop, 229 F.3d 877, 890 (9th Cir. 2000). "A Rule 59(e)

 17   motion may not be used to raise arguments or present evidence for the first time when
 18
      they could reasonably have been raised earlier in the litigation." Id. See also Exxon
 19
 20   Shipping Co. v. Baker, 554 U.S. 471, 485 n.5 (2008); Mulnomah County, Or. v.

 21   ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993).
 22
               Under Federal Rule of Civil Procedure 60(b), a party may seek reconsideration
 23
 24   of a final judgment or court order for any reason that justifies relief, including:

 25      (1)         mistake, inadvertence, surprise, or excusable neglect;
 26      (2)         newly discovered evidence that, with reasonable diligence, could not have
                     been discovered in time to move for a new trial under Rule 59(b);
 27      (3)         fraud (whether previously called intrinsic or extrinsic), misrepresentation, or
 28                  misconduct by an opposing party;
                                                      2
                                Plaintiff’s Memorandum of Points and Authorities
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  1      (4)      the judgment is void;
         (5)      the judgment has been released or discharged; it is based on an earlier
  2
                  judgment that has been reversed or vacated; or applying it prospectively is
  3               no longer equitable; or
         (6)      any other reason that justifies relief.
  4
  5   Fed. R. Civ. P. 60(b)(1)-(6).
  6
               Central District of California Local Rule 7-18 further explains that reasons to
  7
  8
      support a motion for reconsideration include:

  9       (a) a material difference in fact or law from that presented to the Court . . .
 10
          that . . . could not have been known to the party moving for reconsideration at
          the time of such decision, or (b) the emergence of new material facts or a
 11       change of law occurring after the time of such decision, or (c) a manifest
 12       showing of a failure to consider material facts presented to the Court before
          such decision.
 13
 14   C.D. Cal.LR. 7-18, see In re Countrywide Fin. Corp. Mortg.-Backed Sec. Litig., 966

 15   F. Supp. 2d 1031, 1036 (C.D. Cal. 2013).
 16
               A motion for reconsideration may not, however, "in any manner repeat any oral
 17
 18   or written argument made in support of or in opposition to the original motion." Id.

 19            III.   ARGUMENT
 20
               Pursuant to this Court’s Order of February 13, 2018, Dkt No. 815, the Court
 21
 22   took under submission Liberi’s Request for Leave to file an action for breach of the

 23   settlement Agreement and Plaintiff’s request for the Court to Sanction Taitz for lying
 24
      to the Court. The Court stated:
 25
 26       An ancillary issue has also arisen separate from the dispute between Ostella
          and Taitz. Former plaintiff Lisa Liberi—who settled her claims against Taitz
 27       and various Taitz-related entities back in September 2016—sent the Court a
 28       letter saying Taitz “has violated the Settlement Agreement numerous times”
                                                   3
                             Plaintiff’s Memorandum of Points and Authorities
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  1       and asking “permission to file with the Court . . . an Action against Orly
          Taitz.” Liberi also asks the Court to issue “an Order to Show Cause on Orly
  2
          Taitz as to why she should not be sanctioned and refer Orly Taitz for
  3       disciplinary action for boldly lying to the Court.” At this time, the Court takes
          this matter under submission, particularly since the request may be moot after
  4
          the Court resolves the parties’ motions for summary judgment.”
  5
  6
      See Dkt No. 815, p. 4.

  7          Defendants continued violating the Settlement agreement, republishing the old
  8
      posts to new audiences in Germany and the United Kingdom, also available in the
  9
 10   United States. Plaintiff also learned Defendants counsel assisted Taitz in breaching

 11   the Settlement Agreement.
 12
            On August 31, 2018, six (6) months after her request for leave of Court,
 13
 14   Plaintiff sent a letter to chambers along with a proposed breach of contract complaint

 15   containing seven (7) exhibits again seeking leave to file the proposed complaint.
 16
            In response, Counsel for the Defendants responded stating Defendants did not
 17
 18   change servers republishing the posts that their hosting company automatically did it.

 19   This was untrue.
 20
            Plaintiff was unable to respond because throughout the case, the Court made
 21
 22   clear when a party seeks leave to file, the opposing parties are not to respond.

 23         Even after this, Defendants continued breaching the settlement agreement. In
 24
      particular on September 19, 2018 Taitz sent out a tweet telling people to go to her sits
 25
 26   and search Liberi.

 27         The Court denied Plaintiff’s request stating:
 28
                                                 4
                           Plaintiff’s Memorandum of Points and Authorities
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  1       “Lisa Liberi sent the Court a letter consistent with the prefiling restriction in
          this case. Liberi asks the Court to enforce the settlement agreement between
  2
          her and Taitz, which ultimately led to the dismissal of Liberi’s claims against
  3       Taitz and others with prejudice. Liberi asserts that Taitz violated their
          settlement agreement in various ways, mostly by filing an 84-page counter-
  4
          complaint against various parties. Liberi asks that she be allowed to file a
  5       new, 34-page complaint seeking over $30,000,000 in relief.”
  6
          “No. Liberi settled her claims against Taitz and others and dismissed those
  7       claims with prejudice. The proposed complaint improperly resurrects many of
  8
          those claims for no good reason, and even raises wholly new issues that aren’t
          appropriately part of this years old litigation. Moreover, Liberi’s concerns
  9       about Taitz’s counterclaims are moot, because the Court previously struck
 10
          those counterclaims. (Dkt. No. 774.) For these and other reasons, the Court
          DENIES Liber’s request to file a complaint.”
 11
 12          The Order harmed Plaintiff, as indicated in a letter received by Plaintiff on

 13   October 22, 2018 and October 23, 2018 from Federal (Chubb) Insurance Company in
 14
      Plaintiff attempting to resolve the breaches and new cause of actions against their
 15
 16   insured, Orly Taitz, see EXHIBIT “2”.

 17          This Order took away Plaintiff’s only ability for redress for the Defendants’
 18
      breaches of the Settlement Agreement and enforcement of the settlement agreement
 19
 20   because the Court retained jurisdiction for its enforcement.

 21          All of this was plainly and obviously unjust and prejudicial to the Plaintiff.
 22
      This warrants reconsideration of Plaintiff’s proposed breach of contract complaint and
 23
 24   the filing thereof. Burtenshaw v. Berryhill, U.S.D.C. Case No. 5:16-CV-02243-GJS.

 25   C.D. CA Jan. 23, 2018) quoting Turner v. Burlington N. Santa Fe R.R. Co., 338 F.3d
 26
      1058, 1063 (9th Cir. 2003) (Granting a Rule 59(e) Motion is appropriate to "prevent
 27
 28   manifest injustice.").
                                                     5
                               Plaintiff’s Memorandum of Points and Authorities
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  1                A.     The Court has Jurisdiction of the Settlement Agreement as
                          The Court Retained Jurisdiction
  2
  3         The Court incorrectly determined that Plaintiff’s proposed “complaint
  4
      improperly resurrects many of those claims for no good reason, and even raises
  5
  6
      wholly new issues that aren’t appropriately part of this years old litigation.” Oct. 5,

  7   2018 Court Order, Dkt No. 841, p. 11.
  8
            Plaintiff entered into the Settlement Agreement on September 12, 2016. The
  9
 10   Court retained jurisdiction to enforce the terms to the Agreement., see Dkt No. 685

 11   filed September 12, 2018.
 12
            In the dismissal Order, this Court retained jurisdiction “to enforce the terms of
 13
 14   the Settlement Agreement between Plaintiff, LISA LIBERI, and Defendants, ORLY

 15   TAITZ, DEFEND OUR FREEDOMS FOUNDATIONS, LAW OFFICES OF ORLY
 16
      TAITZ, and ORLY TAITZ, INC. and to consider applications for and enter any
 17
 18   appropriate post-judgment orders pursuant thereto.” Court’s Sept. 12, 2016 Order,

 19   Dkt No. 685, p. 2, ¶2.
 20
            In the Ninth Circuit, Courts can retain ancillary jurisdiction over settlement
 21
 22   agreements in cases dismissed with prejudice provided that the party’s consent and the

 23   retention of jurisdiction is in the Order of dismissal. See K.C. v. Torlakson, 762 F. 3d
 24
      963, 967 (9th Cir. 2014)
 25
 26         When Defendants breached the settlement agreement, the Court had ancillary
 27   jurisdiction arising from breach of the Court's dismissal order. Alvarado v. Table
 28
                                                 6
                           Plaintiff’s Memorandum of Points and Authorities
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  1   Mountain Rancheria, 509 F.3d 1008, 1017 (9th Cir.2007) (stating that where "the
  2
      dismissal order the court has retained jurisdiction over the settlement contract.... the
  3
      party seeking enforcement of the settlement agreement must allege a violation of the
  4
  5   settlement agreement in order to establish ancillary jurisdiction") citing Kokkonen v.
  6
      Guardian Life Ins. Co. of America, 511 U.S. 375, 381-82 (1994), 114 S.Ct. 1673, and
  7
  8
      O'Connor v. Colvin, 70 F.3d 530, 532 (9th Cir.1995).

  9          This Court has jurisdiction over the Settlement Agreement and can grant
 10
      Plaintiff her requested relief.
 11
 12                 B.     Breach of Contract

 13          The Court erroneously determined that Plaintiff’s proposed “complaint
 14
      improperly resurrects many of those claims for no good reason, and even raises
 15
 16   wholly new issues that aren’t appropriately part of this years old litigation.” Oct. 5,

 17   2018 Court Order, Dkt No. 841, p. 11.
 18
             Plaintiff entered into the Settlement Agreement on September 12, 2016. The
 19
 20   Court retained jurisdiction to enforce the terms to the Agreement., see Dkt No. 685

 21   filed September 12, 2018.
 22
             In the dismissal Order, this Court retained jurisdiction “to enforce the terms of
 23
 24   the Settlement Agreement between Plaintiff, LISA LIBERI, and Defendants, ORLY

 25   TAITZ, DEFEND OUR FREEDOMS FOUNDATIONS, LAW OFFICES OF ORLY
 26
      TAITZ, and ORLY TAITZ, INC. and to consider applications for and enter any
 27
 28
                                                  7
                            Plaintiff’s Memorandum of Points and Authorities
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  1   appropriate post-judgment orders pursuant thereto.” Court’s Sept. 12, 2016 Order,
  2
      Dkt No. 685, p. 2, ¶2.
  3
            The breaches of the Settlement Agreement go to the heart of Plaintiff’s First
  4
  5   Amended Complaint (“FAC”) and the new cause of actions was a result of
  6
      Defendants republication of the posts giving rise to the original action. Plaintiff was
  7
  8
      not attempting to “resurrect” her old claims, she was attempting to protect herself, and

  9   uphold the Settlement Agreement, and was seeking damages she suffered because of
 10
      the Defendants breaches and republications.
 11
 12         In the Ninth Circuit, Courts can retain ancillary jurisdiction over settlement

 13   agreements in cases dismissed with prejudice provided that the party’s consent and the
 14
      retention of jurisdiction is in the Order of dismissal. See K.C. v. Torlakson, 762 F. 3d
 15
 16   963, 967 (9th Cir. 2014).

 17         Defendants through their counsel sent an unfiled proposed Counter-claims and
 18
      third-party complaint to parties unrelated to Plaintiff, naming Plaintiff’s mother and
 19
 20   containing numerous disparaging and defamatory statements about Plaintiff and her

 21   mother on Sept. 29, 2017 in violation to the Settlement Contract.
 22
            Defendants then made changes to their proposed Counter-claims and third-
 23
 24   party complaint, again naming Plaintiff’s mother, filed it on the ECF filing system

 25   November 3, 2017, Docket No. 753. Plaintiff was served through the ECF filing
 26
      system. The Court struck the Complaint, but it is still a breach and is on the Internet.
 27
 28
                                                 8
                           Plaintiff’s Memorandum of Points and Authorities
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  1          The Court erroneously determined “Liberi’s concerns about Taitz’s
  2
      counterclaims are moot, because the Court previously struck those counterclaims.”
  3
      Even so, Defendant is still in Breach of Contract
  4
  5          California Civil Code ¶1549 provides “A contract is an agreement to do or not
  6
      to do a certain thing.” "A cause of action for breach of contract requires proof of the
  7
  8   following elements: (1) the existence of a contract; (2) plaintiff's performance or

  9   excuse for non-performance; (3) defendant's breach; and (4) damages. CDF
 10
      Firefighters v. Maldonado (2008) 158 Cal.App.4th 1226, 1239, 70 Cal.Rptr.3d 667.
 11
 12   Plaintiff met her burden.

 13          Plaintiff performed her requirements pursuant to the settlement agreement, she
 14
      dismissed her underlying action with prejudice.
 15
 16          Plaintiff plead all the breaches and attached proof of breaches from

 17   republications of the 2009-2013 posts to new audiences, defamatory and disparaging
 18
      posts, and carried out their threats going after Plaintiff’s mother.
 19
 20          Contrary to Defense Counsel’s assertions that the Defendants hosting company

 21   changed Defendants server to a German Server, Defendants hosting companies give
 22
      detailed instructions on how the domain owner, defendants in this case, can change
 23
 24   their servers; or copy their files and pay the hosting company to change servers on
 25   their behalf. A hosting company cannot change servers of domain owners without
 26
      their permission, especially from the United States to foreign countries.
 27
 28
                                                  9
                            Plaintiff’s Memorandum of Points and Authorities
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  1          Defendants got away with their breaches and now that the case has been
  2
      concluded, Defendants were required to delete all posts about Plaintiff. To date they
  3
      have refused to comply. Plaintiff was provided no consideration in the contract.
  4
  5          Contrary to the Court’s Order, Dkt. No. 841, the breaches were more inclusive
  6
      than defendants counter claims. Plaintiff is entitled to seek redress for the breaches.
  7
  8
      Plaintiff’s proposed Motion for Breach of Contract, Rescission, Restitution and

  9   Declaratory Relief is being filed concurrently herewith.
 10
             For the reasons stated herein, Reconsideration and Amendment to the Court’s
 11
 12   Order, Dkt No. 841 and Relief from Final Judgment allowing Plaintiff her requested

 13   relief outlined in her letter seeking leave and her proposed Breach Complaint is
 14
      warranted.
 15
 16                 C.     Rescission of Contract

 17          Plaintiff sought Rescission of the Settlement Agreement on the following
 18
      grounds: fraudulent inducement; Failure of any Consideration provided to Plaintiff or
 19
 20   in the alternative, Failure of the Consideration, constructive fraud, undue influence

 21   and duress.
 22
             Section 1989(b)(1) of the California Civil Code allows a party to rescind a
 23
 24   contract under certain circumstances, including mistake or fraud. Section 1691

 25   requires that a party give notice of his or her intent to rescind and "[r]estore to the
 26
      other party everything of value which he has received from him under the contract or
 27
 28
                                                  10
                            Plaintiff’s Memorandum of Points and Authorities
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  1   offer to restore the same upon condition that the other party do likewise." Cal. Civ.
  2
      Code § 1691.
  3
                i. Coercion, Fraudulent Inducement, Duress and Undue Influence
  4
  5          A claim for fraudulent inducement requires: a) misrepresentation; b)
  6
      knowledge of its falsity; c) intent to induce reliance; d) justifiable reliance; and e)
  7
  8
      damage. Lazar v. Super Ct., 12 Cal. 4th 631, 638 (1996).

  9          A party to a contract may rescind the same if his or her consent was "obtained
 10
      through duress, menace, fraud, or undue influence." Cal. Civ. Code § 1689(b)(1).
 11
 12          Defendants threatened to sue Plaintiff’s elderly mother who is in failing and

 13   poor health. Plaintiff could not afford to pay her mother’s legal fees, and Plaintiff’s
 14
      mother did not have the financial resources to pay for legal fees. If Plaintiff accepted
 15
 16   Defendants Settlement Agreement, Defendants promised:

 17                 (a)    not to go after Plaintiff’s elderly mother:
 18                 (b)    not to republish anything about Plaintiff;
                    (c)    not disparage Plaintiff;
 19                 (d)    To refrain from any further internet or social media posts about
 20                         Plaintiff; and
                    (e)    To delete all publications about Plaintiff upon conclusion of the
 21                        case.
 22
             Plaintiff relied on Defendants promises and signed the agreement. Defendants
 23
 24   did not intend to comply with their promises and instead breached every promise.

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                                                  11
                            Plaintiff’s Memorandum of Points and Authorities
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  1             ii. Failure of any Consideration provided to Plaintiff and
                    Reimbursement of plaintiff’s Consideration
  2
  3          Pursuant to the settlement agreement, Defendants were required to delete all
  4
      publications and posts about Plaintiff within fourteen (14) business days of the
  5
  6
      conclusion of the entire case. The Court concluded the case on Oct. 2018, entered

  7   Oct. 9, 2018, Dkt No.’s 841 and 842. Defendants were to have all their publications
  8
      and posts deleted on or before Oct. 29, 2018. Defendants did not comply and refused
  9
 10   to comply, even after several emails to defense counsel with lists of the posts and

 11   links to be deleted. Defendants, instead of deleting the posts, simply changed the
 12
      URL to include the word “trashed” and sent many back out through their RSS feeds;
 13
 14   others they just refused to delete.

 15          Defendants republished all the posts on March 23, 2018 on two different
 16
      websites/blogs by placing the posts on a German server to their new audiences in
 17
 18   Germany and the United Kingdom, further defaming and disparaging Plaintiff.

 19   Defendants sent out a tweet to their twitter feed instructing people to go to their sites
 20
      and “search Liberi” on Sept. 19, 2018.
 21
 22          A party to a contract may rescind it if, among other things, "the consideration

 23   for the obligation of the rescinding party, before it is rendered to him, fails in a
 24
      material respect from any cause." (Civ. Code, § 1689, subd. (b)(4); Asmus v. Pacific
 25
 26   Bell (2000) 23 Cal.4th 1, 6, fn. 2. If the failure of consideration is total—that is, if
 27   "`nothing of value has been received under the contract by the party'"—a court may
 28
                                                  12
                            Plaintiff’s Memorandum of Points and Authorities
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  1   also award the rescinding party restitution. Rutherford Holdings, LLC v. Plaza Del
  2
      Rey (2014) 223 Cal.App.4th 221, 230, quoting Richter v. Union Land etc. Co. (1900)
  3
      129 Cal. 367, 373; Brown v. Grimes (2011) 192 Cal.App.4th 265, 281. Under these
  4
  5   circumstances, restitution means "repay[ment of] what has been received by [the
  6
      breaching party] under the contract." Holt v. Ravani (1963) 221 Cal.App.2d 213, 216.
  7
  8
            A party fraudulently induced into entering an agreement is entitled to a

  9   rescission of the agreement. Cont'l Airlines, Inc. v. Goodyear Tire & Rubber Co., 819
 10
      F.2d 1519, 1526 (9th Cir. 1987).
 11
 12         Plaintiff did not receive any consideration in the settlement agreement,

 13   absolutely nothing of value, but Defendants received the value of Plaintiff’s lawsuit,
 14
      which Defendants admitted had viable claims. And, Defendants breached every
 15
 16   aspect of the contract.

 17         Defendants received dismissal of Plaintiff’s First Amended Complaint with
 18
      prejudice ($20,000,000.00 – derived from the settlements and jury awards in
 19
 20   California of similar cases) pursuant to the written contract. Plaintiff provided notice

 21   of rescission of the contract on August 28, 2018.
 22
            Defendants have failed and refused and continues to fail and refuse to restore to
 23
 24   Plaintiff the consideration ($20,000,000.00) or any thereof.

 25             iii. Damages
 26
            As a direct and proximate result of Defendants’ breaches, Plaintiff has been
 27
 28   injured and has suffered loss of her Consideration ($20,000,000.00), medical
                                                 13
                           Plaintiff’s Memorandum of Points and Authorities
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  1   expenses. And expenses due to the severe stress and severe emotional distress,
  2
      reputation damage, damage to her profession as a Paralegal, Liberi was shunned in her
  3
      profession and her personal relationships as an honest reputable person; Liberi has
  4
  5   been humiliated, embarrassed by Defendants’ allegations in their posts, and suffered
  6
      severe emotional distress.
  7
  8
            Plaintiff’s damages are ongoing and increasing due to Defendants refusal to

  9   comply with the terms of the Settlement Agreement and continued publications for the
 10
      past 9-1/2 years.
 11
 12         IV.    CONCLUSION

 13         Defendants were fully aware of their requirements and duties outlined in the

 14   parties Settlement Agreement. Taitz is an Attorney and signed the Settlement
 15
      Agreement on behalf of LOOT, OTI, and DOFF. Defendants breached the Settlement
 16
 17   Agreement and failed to delete the posts as required. Defendants were fully aware

 18   Plaintiff received no consideration; and Defendants carried out their threats utilized to
 19
      coerce Plaintiff into the Settlement Agreement, as explained herein. Plaintiff is
 20
 21   damaged by the Court’s Order as it justifies Defendant’s false stories and the posts

 22   will never come down. With this, Plaintiff’s reputation remains tarnished.
 23
            The Court’s incorrect conclusions and determinations are obviously unjust and
 24
 25   prejudicial to the Plaintiff. This warrants the Granting of this Motion; Altering the

 26   Judgment, Dkt No. 842 and the Court Amending its October 5, 2018 Order, Dkt No.
 27
      841, Granting Plaintiff’ her requested relief. Burtenshaw v. Berryhill, U.S.D.C. Case
 28
                                                 14
                           Plaintiff’s Memorandum of Points and Authorities
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 28                                 EXHIBIT “1”
                                             16
                       Plaintiff’s Memorandum of Points and Authorities
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    7                                  UNITED STATES DISTRICT COURT

    8                                 CENTRAL DISTRICT OF CALIFORNIA

    9                                 SOUTHERN DIVISION – SANTA ANA

   10

   11   LISA OSTELLA,                                Case No. SACV 11-00485 AG (RAOx)

   12                    Plaintiff,

   13          v.                                    JUDGMENT

   14   ORLY TAITZ,

   15                    Defendant.

   16
   17

   18          The Court enters judgment for Defendant and against Plaintiff.

   19

   20

   21   Dated October 5, 2018                            ____________________________________
                                                         Hon. Andrew J. Guilford
   22                                                    United States District Judge
   23

   24

   25

   26

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   28


                                                 JUDGMENT
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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA


                               CIVIL MINUTES - GENERAL
 Case No.      SACV 11-00485 AG (RAOx)                           Date    October 5, 2018
 Title         LISA M. OSTELLA v. ORLY TAITZ




 Present: The Honorable       ANDREW J. GUILFORD
           Lisa Bredahl                             Not Present
           Deputy Clerk                      Court Reporter / Recorder           Tape No.
         Attorneys Present for Plaintiffs:               Attorneys Present for Defendants:


 Proceedings:       [IN CHAMBERS] ORDER RE MOTIONS FOR SUMMARY
                    JUDGMENT

This case stems from a professional relationship gone very, very bad. Plaintiff Lisa Ostella
used to volunteer for Defendant Orly Taitz as a web developer. Eventually, their relationship
soured, with Taitz accusing Ostella of stealing online donations and locking Taitz out of
various web sites that Ostella had been developing for Taitz. From the beginning, this
dispute has rarely been about substance, and instead involves two parties airing their personal
grievances with one another through online postings, complaints to law enforcement, and
extended civil proceedings in multiple courts. Things got so out of hand the Court was
forced to impose a prefiling restriction on the parties. (See Dkt. No. 227.) After years of
litigation, both parties agreed that this case should be resolved by the Court through
summary judgment. Since in this convoluted and unreasonably contentious case both sides
ask the Court to decide this without trial, the Court will do so. Thus, the Court vacated the
previously set trial and set a briefing schedule.

In total, the parties filed six briefs and thousands of pages of documents. Even after all this
the Court is still not sure what exactly happened between Ostella and Taitz. The truth seems
to be buried in their confusing arguments and mountains of exhibits, or (more likely) not
effectively presented in this case. See Carmen v. S.F. Unified Sch. Dist., 237 F.3d 1026, 1029
(9th Cir. 2001) ([A] district court is not required to comb the record to find some reason to
deny a motion for summary judgment.); see also Corley v. Rosewood Care Ctr., Inc., 388 F.3d
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                           UNITED STATES DISTRICT COURT
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990, 1001 (7th Cir. 2004) (internal citations and quotation marks omitted) (“Judges are not
like pigs, hunting for truffles buried in the record.”). Despite the parties’ difficulty pursing
this matter effectively, the Court issues this order to, as much as now possible under the law
and circumstances, do justice.

Plaintiff Lisa Ostella contends that she’s entitled to summary judgment on all her claims,
asking the Court to award her over $15,000,000, among other things. (Dkt. No. 818.)
Defendant Orly Taitz also contends that she’s entitled to summary judgment on Ostella’s
claims. (Dkt. No. 826.) Like so many poorly presented cases, the outcome of this case is
dictated by the burden of proof. Because Ostella has failed to present sufficient evidence to
carry her burden on any of her claims, the Court DENIES Ostella’s motion for summary
judgment. (Dkt. No. 818.) For the same reason, the Court GRANTS Taitz’s motion for
summary judgment. (Dkt. No. 826.)

1. BACKGROUND

At bottom, this case is about 11 statements by Taitz, which were all posted on Taitz’s blog.
Here is a brief summary of the statements:

         1. April 17, 2009: In an email (which was later posted on Taitz’s website)
         titled “Dossier #6” sent to various people, Taitz wrote that the email
         address in her blog’s “pay-pal was changed, which prevented [her] from
         raising funds.” (Dkt. No. 819-12.) Taitz explained that, “When [she] found
         a new web master to host [her] foundation, Ms. Ostella instead of
         transferring the access codes and the domain, has locked me and another
         volunteer moderator out of the blog.” (Id.) Taitz wrote that she “started
         receiving statements and copies of pay-pal receipts, showing instead of my-
         email address, an e-mail address of Lisa Ostella.” (Id.) Taitz wrote that she
         originally “thought that maybe her address showed on the receipt, since
         she was a web master on the account, however, when I checked the names
         and dates on the receipts against the names on the roster, that I
         downloaded earlier, I could see that those were not received by the
         foundation, those donations were missing.” (Id.)
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         2. April 18, 2009: In a post titled “Follow up on Lisa Liberi, paralegal to
         Phil Berg,” Taitz wrote “I saw that Lisa Ostella has redirected the Defend
         Our Freedoms blog and redirected the pay pal.” (Dkt. No. 819-2.)

         3. April 18, 2009: In a post titled “Don’t be fooled,” Taitz wrote, “My
         former web master Lisa Ostella has created an account that she called
         Defend Our Freedoms Network and is soliciting donations, praying on
         unsuspecting readers that would not notice the difference between Defend
         Our Freedoms Foundation and Defend Our Freedoms Community. Please
         notice, your donations there will not go to the foundation, they will go to
         her personal bank account, connected to her personal email address
         GoExcellGlobal.” (Dkt. No. 819-3.)

         4. April 19, 2009: In a post titled “Every day I get such evidence of missing
         or misdirected funds,” Ostella wrote, “Every day I get such receipts,
         showing that my former web master Lisa Ostella . . . has redirected
         donations to herself, to her e-mail address. Currently, as this was
         uncovered, she created new web sites Defend our freedoms .org, .net and
         continues the scheme by making those sites similar to my old ones and
         using the foundation name to steal more donations.” (Dkt. No. 819-4.)
         Attached to the post is what appears to be an email receipt from one of
         Taitz’s follower that shows he made a $25 donation through PayPal to
         “Defend Our Freedoms (lisaostella@hotmail.com).” (Id.)

         5. In April 20, 2009: In a post titled “About Lisa Ostella-don’t patronage
         diverting funds from a nonprofit, don’t be part of slander,” Taitz posted
         what appears to be an email that says, among other things, “As I found a
         new web master, Ms. Ostella, who had the access codes as a web master,
         instead of transferring all the domains, has locked me and other volunteers
         out of the blog and transferred the account to herself, and is using the
         name of my foundation fraudulently, without my consent. She is using the
         pay-pal account that says Defend Our Freedoms and my personal e-mail
         address fraudulently and she posted numerous outrageous slanderous
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         statements about me while pocketing the donations, that the unsuspecting
         donors are giving, believing that they are donating to me, to support my
         efforts in investigating Obama and all the illegal activities, perpetrated by
         him and his supporters, including forgery, multiple social security numbers,
         perjury and possible fraudulent financial transactions.” (Dkt. No. 819-5.)

         6. April 21, 2009: In a post titled “Update on Lisa Ostella and Lisa Liberi,”
         Taitz wrote that her readers should “demand a refund” for any donations
         made to Defend Our Freedoms and “report it to the Sheriffs department,
         FBI and IRS as funds stolen from the non profit organization.” (Dkt. No.
         819-6.) Taitz also wrote that Ostella was “fraudulently sending e-mails to
         . . . readers using DefendOurFreedoms name” and Taitz instructed her
         followers to “demand that she immediately stop this practice.” (Id.) Taitz
         wrote that she had “closed her pay pal account and did not receive any pay
         pal or visa donation since 04.11.09.” (Id.)

         7. April 23, 2009: In a comment on her blog, Taitz wrote, “unfortunately
         Defend our freedoms site was hijacked. . . . The old site was hijacked by
         my former web master Lisa Ostella, who is shamelessly using the name of
         the foundation without my consent and pocketing the donations.” (Dkt.
         No. 819-7.)

         8. April 23, 2009: In a post titled “Lisa Ostella Internet Fraud in North
         Brunswick, NJ,” Taitz posted an email from a third-party to the “Director
         of Consumer Affairs and the FBI for New Jersey” where the follower
         wrote, “I need to alert you to the fact that Lisa Ostella has defrauded Dr.
         Orly Taitz and has hijacked her website.” (Dkt. No. 819-8.)

         9. May 19, 2009: In a post titled “NJ Police,” Taitz wrote, “As you know
         my previous site, Defend Our Freedoms was taken over by the web master
         Lisa Ostella. For over a month now Lisa Ostella had no affiliation with
         Defend Our Freedoms Foundation, however she has been sending e-mails
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         from Defend Our Freedoms and collecting donations. If you are a donor
         and received such solicitations or have given a donation believing that it
         went to Defend Our Freedoms Foundation, you were defrauded, since
         such donations from at least April 11 or possibly earlier date went to the
         pocket of Lisa Ostella and benefitted the household of Lisa and Frnak (sic)
         (Mario) Ostella. If you received such solicitation or have given a donation
         please contact North Brunswick New Jersey Police . . . and file a criminal
         comlaint.” (Dkt. No. 819-9.) In the comments to this post, Taitz reiterated
         these statements. (Id.)

         10. January 29, 2010: In a post titled “I need your help,” Taitz wrote that
         she needed her followers’ help “in sending me affidavits and screenshots of
         any solicitation e-mails or notices of solicitation of donations for DOFF
         (defend our freedoms foundation) done by my former web master Lisa
         Ostella after 04.11.09, the date when she locked me out of my former
         foundation web site.” (Dkt. No. 819-10.)

         11. March 3, 2011: In a post titled “Who are these people in Germany,
         threatening me?” Taitz wrote, that she had reported to the police and FBI
         that her “volunteer web master Lisa Ostella locked me out of my prior web
         site for my foundation, that donations to my foundation were diverted,
         that there was tampering with my car. I am yet to see anything done by
         police departments in CA, NM, NJ or PA. (Dkt. No. 819-11.)

Yes, the facts of this case go back at least to 2009 posts. Ostella contends that all these
statements are lies. After almost a decade of litigation, the following four claims remain: (1)
invasion of privacy (false light publicity); (2) invasion of privacy (appropriation of name);
(3) cyber-harassment; and (4) libel per se.

2. JURISDICTION

Taitz argues that this Court doesn’t have jurisdiction to decide this case because “two
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Plaintiffs (Ostella and Go Excel Global) and two Defendants (James Sundquist and Rock
Salt Publishing) were citizens of New Jersey when this case was filed. (Oppn, Dkt. No. 34
at 12.) Taitz made this exact same argument two years ago. (See Dkt. No. 688 at 6.) The
Court rejected that argument then, and Taitz hasnt provided any convincing reason to
revisit that decision now. (Dkt. No. 744.)

3. PRELIMINARY ISSUES

The parties made numerous evidentiary objections. On a motion for summary judgment,
parties must cite specific evidence to assert that a fact cannot be or is genuinely disputed.
Fed. R. Civ. P. 56(c)(1). When the parties file numerous objections on a summary judgment
motion, its often unnecessary and impractical for a court to methodically scrutinize each
objection and give a full analysis of each argument raised. See Doe v. Starbucks, Inc., No.
SACV 08-00582 AG (CWx), 2009 WL 5183773, at *1 (C.D. Cal. Dec 18, 2009). The Court
declines to rule individually on the parties many objections, and relied only on appropriate
evidence in this order.

Summary judgment is appropriate where the record, read in the light most favorable to the
non-moving party, shows that there is no genuine issue as to any material fact and . . . the
moving party is entitled to a judgment as a matter of law. Fed. R. Civ. P. 56(a); see Celotex
Corp. v. Catrett, 477 U.S. 317, 32223 (1986). Material facts are those necessary to the proof
or defense of a claim, as determined by reference to substantive law. Anderson v. Liberty
Lobby, Inc., 477 U.S. 242, 248 (1986). A factual issue is genuine if the evidence is such that
a reasonable jury could return a verdict for the nonmoving party, based on the issue. See
id. In deciding a motion for summary judgment, [t]he evidence of the nonmovant is to be
believed, and all justifiable inferences are to be drawn in his favor. Id. at 255. But if the
evidence of the nonmoving party is merely colorable, or is not significantly probative,
summary judgment may be granted. Id. at 24950.
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4. ANALYSIS

         4.1   Libel Per Se

As Ostella puts it, the “primary question” for her libel claim is whether “Taitz’s statements
that Ostella took funds, diverted, or committed fraud in 11 posts is libel on its face.” (Mot., Dkt.
No. 818-1 at 10.) Under California Civil Code section 45a, the section which governs libel
per se, a plaintiff prevails only “if the publication is (1) libelous on its face, or (2) if special
damages have been proven.” Downing v. Abercrombie & Fitch, 265 F.3d 994, 1010 (9th Cir.
2001). Ostella argues that Taitz’s statements are libelous on their face because they accuse
Ostella of criminal conduct. (Mot., Dkt. No. 818-1 at 10.)

In this case, the Ninth Circuit has concluded that Taitz’s “speech at issue concerns matters
of public importance.” (Dkt. No. 676 at 5.) Consequently, Taitz argues that Ostella must
show that the blog posts were made with malice. And Ostella doesn’t contest that
argument. (See Opp’n, Dkt. No. 832 at 12; Reply, Dkt. No. 838 at 19.) Indeed, there is
some support for Taitz’s argument. “[I]f a plaintiff in a defamation case involving a matter
of public concern seeks presumed damages because the statements are libelous per se,” as
Ostella does here, the plaintiff “must prove actual malice, i.e., that defendant knew the
complained-of speech was false or acted with reckless disregard of whether it was false.”
ZL Techs., Inc. v. Does 1-7, 13 Cal. App. 5th 603, 631 (2017). “Evidence of falsity will be
relevant to any determination of malice.” Id. at 632 (internal citations omitted).

Throughout her papers, Ostella has failed to provide convincing evidence that the
statements were false or that Taitz knew the statements were false when made. To be sure,
the confusing evidence submitted by both sides makes it nearly impossible to tell what
actually happenedit’s possible that Taitz’s statements were totally false. Indeed, Taitz’s
own evidence on this point is fairly weak. But Ostella concedes that it’s her burden to
prove malice and falsity in this context. To carry that burden, Ostella must rely on
“significantly probative” evidence that is more than “merely colorable.” Anderson, 477 U.S.
at 24950 (internal citations omitted). Ostella hasn’t done that, even viewing the facts (as
much as the Court can now discern them) in a light most favorable to her.
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For these and other reasons, summary judgment in Taitzs favor on Ostellas libel per se
claim is appropriate.

         4.2   Invasion of Privacy (False Light Publicity and Appropriation of
               Name)

To prevail on a false light publicity claim, a plaintiff must show that the defendant
(1) disclosed to one or more persons information about the plaintiff that was presented as
factual but was actually false or created a false impression about the plaintiff; (2) the
information was understood by one or more persons to whom it was disclosed as stating
something highly offensive that would have a tendency to injure the plaintiffs reputation;
(3) by clear and convincing evidence, the defendant acted with constitutional malice; and
(4) the plaintiff was damaged by the disclosure. Solano v. Playgirl, Inc., 292 F.3d 1078, 1082
(9th Cir. 2002). As Ostella describes the test for appropriation of a persons name, knowing
use of a persons name for commercial purposes without anothers consent leads to liability
for damages. Ostella explicitly relies on Californias statutory version of name
appropriation. (Mot., Dkt. No. 818-1 at 15, n.28.)

Ostella hasnt provided evidence sufficient to support either privacy claim. While its
undisputed that Taitz did use Ostellas name without consent, Ostella hasnt convincingly
shown that the claims were false or that Taitz acted with malice, as discussed. Also,
Ostellas evidence of damages consists almost entirely of her own conclusory declaration,
which is difficult to rely on as the sole source for her $15,000,000 damages claim. (Dkt. No.
810 at ¶¶ 10, 55, 37, 60.) While Ostella argues the use of her name was for a commercial
purpose because it was on Taitzs blog where Taitz solicits donations and posts paid ads,
this isnt a sufficiently direct connection between the alleged use and the commercial
purpose. Downing v. Abercrombie & Fitch, 265 F.3d 994, 1001 (9th Cir. 2001); see also Cal.
Civ. Code § 3344(a) (use of name must be for purposes of advertising or selling, or
soliciting purchases of, products, merchandise, goods or services). Further, Ostellas
privacy claims are likely barred by the Ninth Circuits explicitly finding that Taitzs posts
concerned matters of public interest, particularly since Ostella hasnt shown that the
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statements were false. See Downing, 265 F.3d at 100203; Solano, 292 F.3d at 1098.

Summary judgment on Ostella’s invasion of privacy claims is appropriate.

         4.3   Cyber-Harassment

Ostella contends that “Taitz has cyber harassed her . . . through Taitz’s 11 posts and
published law enforcement reports, that accused Ostella of diverting funds, of committing
fraud, and of hijacking the blog.” (Mot., Dkt. No. 818-1 at 15.) Under California Civil
Procedure Code section 527.6(b), harassment is defined as:

               unlawful violance, a credible threat of violence, or a knowing
               and willful course of conduct directed at a specific person that
               seriously alarms, annoys, or harasses the person, and that serves
               no legitimate purpose. The course of conduct must be that
               which would cause a reasonable person to suffer substantial
               emotional distress, and must actually cause substantial emotional
               distress to the petitioner.

To receive the injunctive relief provided by California’s anti-harassment statute, Ostella
must prove that she is the victim of ongoing harassment by clear and convincing evidence.
Cal. Civ. Proc. Code § 527.6(i).

Here, Ostella fails to provide evidence sufficient to support her harassment claim.
Importantly, Ostella hasn’t shown that Taitz’s online posts caused Ostella “substantial
emotional distress.” The lone evidence of Ostella’s emotional distress is her own
declaration that says has been “embarrassed, humiliated, and [has] felt continuously
criminalized by Taitz’s online criminal accusations.” (Dkt. No. 819 at ¶ 37.) Without more,
this isn’t enough under the California harassment statute’s high burden of proof. Moreover,
this doesn’t appear to be the kind of conduct covered by the harassment statute,
particularly since Taitz’s allegedly harassing posts were all made many years ago. See Russell
v. Douvan, 112 Cal. App. 4th 399, 402 (2003) (requiring course of conduct to justify
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                                #:22797



                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA


                               CIVIL MINUTES - GENERAL
 Case No.      SACV 11-00485 AG (RAOx)                            Date      October 5, 2018
 Title         LISA M. OSTELLA v. ORLY TAITZ

injunctive relief). The Court takes seriously Taitzs declaration that she will not post about
Ostella moving forward.

For these and other reasons, summary judgment in Taitzs favor on Ostellas harassment
claim is appropriate.

         4.4   Sanctions

Ostella argues that the Court should sanction Taitz under the Federal Rules of Civil
Procedure for failing to turn over discovery. Ostella also argues that the Court should
sanction Taitz under 28 U.S.C. § 1927 for unreasonably and vexatiously multiplying these
proceedings. Under both standards, the Court has discretion to determine whether
sanctions are appropriate. See Ollier v. Sweetwater Union High Sch. Dist., 768 F.3d 843, 859 (9th
Cir. 2014) (explaining that the Court has wide latitude in awarding Rule 37 sanctions);
Chambers v. NASCO, Inc., 501 U.S. 32, 4648 (1991).

Although Taitzs conduct throughout this case has been very concerning, as the Court has
noted numerous times, the Court cant conclude that sanctions are warranted. This is
particularly true because Ostellas own conduct throughout this case has also been very
concerning. Moreover, its unclear why Ostella has waited until this late date to make
discovery-related arguments. For these and other reasons, the Court declines to award
sanctions to any party.

5. LISA LIBERI LETTER

Lisa Liberi sent the Court a letter consistent with the prefiling restriction in this case. Liberi
asks the Court to enforce the settlement agreement between her and Taitz, which
ultimately led to the dismissal of Liberis claims against Taitz and others with prejudice.
Liberi asserts that Taitz violated their settlement agreement in various ways, mostly by
filing an 84-page counter-complaint against various parties. Liberi asks that she be allowed
to file a new, 34-page complaint seeking over $30,000,000 in relief.
Case 8:11-cv-00485-AG-RAO Document 847 Filed 11/02/18 Page 37 of 45 Page ID
                                #:22798



                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA


                             CIVIL MINUTES - GENERAL
 Case No.     SACV 11-00485 AG (RAOx)                             Date   October 5, 2018
 Title        LISA M. OSTELLA v. ORLY TAITZ

No. Liberi settled her claims against Taitz and others and dismissed those claims with
prejudice. The proposed complaint improperly resurrects many of those claims for no
good reason, and even raises wholly new issues that arent appropriately part of this years-
old litigation. Moreover, Liberis concerns about Taitzs counterclaims are moot, because
the Court previously struck those counterclaims. (Dkt. No. 774.) For these and other
reasons, the Court DENIES Libers request to file a complaint.

6. CONCLUSION

The Court has thoroughly reviewed the six briefs and mountains of evidence submitted by
the parties in reaching the conclusions of this order. Any arguments not addressed in this
order were either unpersuasive or unnecessary for the Court to consider.

The Court DENIES Ostellas motion for summary judgment. (Dkt. No. 818.) The Court
GRANTS Taitzs motion for summary judgment. (Dkt. No. 826.) Though the parties may
feel impelled to ask, the Court will not award any attorney fees to either side, because such
an award would not be at all appropriate under the circumstances.

Thus this case, largely fueled by political passions of the past, comes to an end. The Court
hopes the parties will move on to more productive activities. The Court will enter a
simple judgment.


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                                                    Initials of           lmb
                                                    Preparer
Case 8:11-cv-00485-AG-RAO Document 847 Filed 11/02/18 Page 38 of 45 Page ID
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                       Plaintiff’s Memorandum of Points and Authorities
Gmail - Chubb Claim No. 047511021455                                   Page 1 of 1
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                                     #:22800



                                                                            Lisa Liberi <lisaliberi@gmail.com>



 Chubb Claim No. 047511021455
 Tortorici, Emma <Emma.Tortorici@chubb.com>                                         Mon, Oct 22, 2018 at 3:56 PM
 To: "lisaliberi@gmail.com" <lisaliberi@gmail.com>
 Cc: "Favre, David G" <dfavre@chubb.com>


  Please see attached.

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                                #:22801

                                              Chubb North AmericanClaims   O +415.547.4590
                                              455 Market Street            M +415.770.1188
                                              San Francisco, CA 94506      Emma.tortorici@chubb.com
                                              USA



                 October 22, 2018

                 Via Email & U.S. Mail

                 (LisaLiberi@gmail.com)

                 Lisa Liberi
                 1704b Llano St. No. 159
                 Santa Fe, NM 87505


                        Re:     Our Insured:            Orly Taitz
                                Claimant:       Lisa Liberi
                                Policy No.:     12733201-01
                                Policy Periods:July 30, 2008 to July 30, 2013 annually
                                Liability Limit:        $1 million
                                Insurer:        Federal Insurance Company
                                Our Claim No.:          047511021455
                                CA DOI No.: CSB-8170955

                 Dear Ms. Liberi:

                        Please allow this to respond to your letter dated October 9, 2018 and
                 your prior correspondence dated February 9, 2018, August 16, 2018, and
                 August 31, 2018 communicating your willingness to settle your claims against
                 our insured for the limits of the referenced policy. This also responds to your
                 Request for Assistance to the California Department of Insurance dated
                 September 29, 2018.

                          By way of background, there are a couple facts we would like to
                 clarify. At all times relevant to this dispute, you have been a claimant suing or
                 otherwise making claims against our insured. The law firm of Schuman |
                 Rosenberg of whom Kim Schuman and Jeffrey Cunningham are partners
                 were retained as defense counsel to defend our insured, Ms. Orly Taitz.
                 Neither Mr. Schuman, Mr. Cunningham nor the law firm of Schuman |
                 Rosenberg represents Federal Insurance Company (“Chubb”) in connection
                 with your dispute nor have they ever served in any capacity as Chubb’s agent
                 as you state in your letters. They were at all time defense counsel for Chubb’s
                 insured, Ms. Taitz. (See, Fair Claims Settlement Practices Act Section 2695.2
                 “claims agent” does not include “an attorney retained by the insurer to defend
                 a claim brought against an insured.”)

                          Please understand that we did not and do not concur with your
                 assessment of this dispute. Prior to your letters, you and our insured, Orly
                 Taitz, entered into a binding settlement agreement on or about September 9,
                 2016, fully resolving all disputes between you and Ms. Taitz. Following the
                 execution of that settlement agreement, a stipulation of dismissal with
                 prejudice of your lawsuit was filed on your behalf on September 9, 2016 by
                 your counsel of record in favor of Orly Taitz. Thereafter, on September 12,
                 2016, at the request of the parties, the Court ordered the dismissal of your
                 action with prejudice but retained jurisdiction to enforce the terms of the
                 settlement agreement. We mention these facts because section 2695.5 of the
                 Fair Claims Settlement Practice Act expressly provides that the
                 communications requirements of subsection (b) “shall not apply to require
                 communication with a claimant [you] subsequent to receipt by the licensee
                 [us] of a notice of legal action by that claimant [you].” As you had been
                 litigating this action for years and indeed had pending requests to the U.S.



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 District Court to “reopen” the litigation, no responsive communication was required from us to
 you.

         Your letters to us, referenced above, were all post settlement and dismissal of all of your
 claims against our insured, Ms. Taitz with prejudice. We simply did not concur with your
 assessment of your claim against our insured, particularly given the fact that the matter had
 previously been fully settled and dismissed with prejudice. Chubb also does not concur (nor did
 the U.S. District Court Judge) with your position that you were coerced into settling your claims
 or that somehow Chubb’s insured breached the terms of the settlement agreement.

         We understand that you wrote letters to the U.S. District Court for the Central District of
 California, Hon. Andrew J. Guilford, on February 9, 2018 and August 31, 2018 (copies attached
 without exhibits) requesting leave to file an action against our named insured, Orly Taitz, for
 breach of the settlement agreement. Nowhere in these letters do you state, as you did in your
 Request for Assistance to the Department of Insurance, that you were somehow coerced under
 threat to enter into a settlement or to dismiss your action with prejudice against our insured. In
 any event, by its ruling on October 5, 2018, the Court denied your request in its entirety stating:

        Lisa Liberi sent the Court a letter consistent with the prefiling restriction in this
        case. Liberi asks the Court to enforce the settlement agreement between her and
        Taitz, which ultimately led to the dismissal of Liberi’s claims against Taitz and
        others with prejudice. Liberi asserts that Taitz violated their settlement agreement
        in various ways, mostly by filing an 84-page counter-complaint against various
        parties. Liberi asks that she be allowed to file a new, 34-page complaint seeking
        over $30,000,000 in relief.

        No. Liberi settled her claims against Taitz and others and dismissed those claims
        with prejudice. The proposed complaint improperly resurrects many of those
        claims for no good reason, and even raises wholly new issues that aren’t
        appropriately part of this years-old litigation. Moreover, Liberi’s concerns about
        Taitz’s counterclaims are moot because the Court previously struck those
        counterclaims. (Dkt. No. 774.) For these and other reasons, the Court DENIES
        Liberi’s request to file a complaint.

         For your convenience, we attached a copy of the settlement agreement dated September 9,
 2016; the Stipulation of Dismissal with Prejudice by Plaintiff, Lisa Liberi as to Defedants Orly
 Taitz, Defendant Our Freedoms Foundations, Law Office of Orly Taitz, and Orly Taitz, Inc; the
 Order to Dismiss Action and Retain Jurisdiction to Enforce Settlement Agreement; your letters to
 Judge Guilford dated February 9, 2018 and August 31, 2018 and Civil Minute-General From the
 U.S. District Court, Hon. Andrew J. Guilford re: Order re: Motions for Summary Judgment.

        We trust that this letter suffices to the explain our position.

 Very Truly Yours,

 Emma M. Tortorici
 Emma M. Tortorici



 Cc: California Department of Insurance




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Gmail - Chubb claim ref: 047511021455                                  Page 1 of 1
  Case 8:11-cv-00485-AG-RAO Document 847 Filed 11/02/18 Page 42 of 45 Page ID
                                      #:22803



                                                                            Lisa Liberi <lisaliberi@gmail.com>



 Chubb claim ref: 047511021455
 Hee, Lana Z <lzhee@chubb.com>                                                     Tue, Oct 23, 2018 at 10:24 AM
 To: "Lisa.Liberi@gmail.com" <Lisa.Liberi@gmail.com>


  Please see attached, sent on behalf of Emma Tortorici. Should you have any questions or comments, please
  contact Ms. Tortorici at (415) 547-4590, Emma.tortorici@chubb.com. Thank you.




  Lana Z. Hee
  Pacific Region, North America Casualty Claims



  2603 Camino Ramon, Suite 300, San Ramon, California 94583, USA
  O (925) 598-6046 F (623) 455-2276
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                                #:22804
                                               Emma Tortorici                    O 415.547.4590
                                               Chubb North America Claims        M 415.770.1188
                                               455 Market Street                 Emma.tortorici@chubb.com
                                               San Francisco, CA 94506
                                               USA

               October 23, 2018


               Lisa.Liberi@gmail.com                    Via E-Mail & U.S. Mail
               Lisa Liberi
               170b Llano St. No.159
               Santa Fe, NM 87505


               Re: Our Insured:        Orly Taiz
                   Claimant:           Lisa Liberi
                   Policy No.:         12733201-01
                   Policy Periods:     July 30, 2008 to July 30, 2013 annually
                   Liability Limit:    $1,000,000
                   Insurer:            Federal Insurance Company
                   Our Claim No:       047511021455
                   CA DOI No.:         CSB-8170955

               Dear Ms. Liberi:

                        Please allow this to respond to your letter dated October 9, 2018 and your
               prior correspondence dated February 9, 2018, August 16, 2018, and August 31, 2018
               communicating your willingness to settle your claims against our insured for the
               limits of the referenced policy. This also responds to your Request for Assistance to
               the California Department of Insurance dated September 29, 2018.


                        By way of background, there are a couple facts we would like to clarify. At
               all times relevant to this dispute, you have been a claimant suing or otherwise making
               claims against our insured. The law firm of Schuman | Rosenberg of whom Kim
               Schuman and Jeffrey Cunningham are partners were retained as defense counsel to
               defend our insured, Ms. Orly Taitz. Neither Mr. Schuman, Mr. Cunningham nor the
               law firm of Schuman | Rosenberg represents Federal Insurance Company
               (“Chubb”) in connection with your dispute nor have they ever served in any
               capacity as Chubb’s agent as you state in your letters. They were at all time defense
               counsel for Chubb’s insured, Ms. Taitz. (See, Fair Claims Settlement Practices Act
               Section 2695.2 “claims agent” does not include “an attorney retained by the insurer
               to defend a claim brought against an insured.”)


                       Please understand that we did not and do not concur with your assessment
               of this dispute. Prior to your letters, you and our insured, Orly Taitz, entered into
               a binding settlement agreement on or about September 9, 2016, fully resolving all
               disputes between you and Ms. Taitz. Following the execution of that settlement
               agreement, a stipulation of dismissal with prejudice of your lawsuit was filed on
               your behalf on September 9, 2016 by your counsel of record in favor of Orly
               Taitz. Thereafter, on September 12, 2016, at the request of the parties, the Court
               ordered the dismissal of your action with prejudice but retained jurisdiction to
               enforce the terms of the settlement agreement. We mention these facts because
               section 2695.5 of the Fair Claims Settlement Practice Act expressly provides that
               the communications requirements of subsection (b) “shall not apply to require
               communication with a claimant [you] subsequent to receipt by the licensee [us] of
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a notice of legal action by the claimant [you].” As you had been litigating this action for years and indeed
had pending requests to the U.S. District Court to “reopen” the litigation, no responsive communication
was required from us to you.

        Your letters to us, referenced above, were all post settlement and dismissal of all of your claims
against our insured, Ms. Taitz with prejudice. We simply did not concur with your assessment of your claim
against our insured, particularly given the fact that the matter had previously been fully settled and
dismissed with prejudice. Chubb also does not concur (nor did the U.S. District Court Judge) with your
position that you were coerced into settling your claims or that somehow Chubb’s insured breached the
terms of the settlement agreement.


         We understand that you wrote letters to the U.S. District Court for the Central District of
California, Hon. Andrew J. Guilford, on February 9, 2018 and August 31, 2018 (copies attached without
exhibits) requesting leave to file an action against our named insured, Orly Taitz, for breach of the
settlement agreement. Nowhere in these letters do you state, as you did in your Request for Assistance
to the Department of Insurance, that you were somehow coerced under threat to enter into a settlement
or to dismiss your action with prejudice against our insured. In any event, by its ruling on October 5,
2018, the Court denied your request in its entirety stating:


         Lisa Liberi sent the Court a letter consistent with the prefiling restriction in this case.
         Liberi asks the Court to enforce the settlement agreement between her and Taitz, which
         ultimately led to the dismissal of Liberi’s claims against Taitz and others with prejudice.
         Liberi asserts that Taitz violated their settlement agreement in various ways, mostly by
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         allowed to file a new, 34-page complaint seeking over $30,000,000 in relief.


         No. Liberi settled her claims against Taitz and others and dismissed those claims with
         prejudice. The proposed complaint improperly resurrects many of those claims for no
         good reason, and even raises wholly new issues that aren’t appropriately part of this
         years-old litigation. Moreover, Liberi’s concerns about Taitz’s counterclaims are moot
         because the Court previously struck those counterclaims. (Dkt. No. 774.) For these and
         other reasons, the Court DENIES Liberi’s request to file a complaint.


        For your convenience, we attached a copy of the settlement agreement dated September 9, 2016;
the Stipulation of Dismissal with Prejudice by Plaintiff, Lisa Liberi as to Defendants Orly Taitz,
Defendant Our Freedoms Foundations, Law Office of Orly Taitz, and Orly Taitz, Inc; the Order to
Dismiss Action and Retain Jurisdiction to Enforce Settlement Agreement; your letters to Judge Guilford
dated February 9, 2018 and August 31, 2018 and Civil Minute-General From the U.S. District Court,
Hon. Andrew J. Guilford re: Order re: Motions for Summary Judgment.

        We trust that this letter suffices to the explanation of our position.

Very truly yours,

Emma M. Tortorici

Emma M. Tortorici




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